Case 1:04-cv-01154-.]DT-STA Document 116 Filed 07/18/05 Page 1 of 4 Page|D 90

IN THE UNITED S'I`ATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

RBP, LLC,

 

Plaintiff,
vs. NO.: 04-1154 T-An

GENUINE PARTS COMPANY and
INDIANA INSURANCE COMPANY,

Defendants.

 

GENUINE PARTS COMPANY,
Third-Party Plaintiff,

VS.

ALLIANZ GLOBAL RISKS U.S.
INSURANCE COMPANY and
LEXINGTON INSURANCE COMPANY,

Third-Party Defendants.

 

ORDER SETTING HEARING

 

Before the Court is the Third-Party Defendant Allianz Global Risks U.S. lnsurance
Company, Motion to Modify the Scheduling Orcler to Extend the Time for Discovery filed On
July 6, 2005.

IT IS THEREFORE ORDERED that a hearing be held before Um`ted States Magistrate

Thls document entered on the docket she t_ln compliance 1
with ama 53 and/or 79 (a) FncP on _q_.z§_l§_)_[)_§_

\\\D

Case 1:04-cv-01154-.]DT-STA Document 116 Filed 07/18/05 Page 2 of 4 Page|D 91

Judge S. Thomas Anderson on TUESDAY, JULY 26, 2005 at 10:00 A.M. in the Magistrate
Judge Coui“troom, 4th Floor, United States Courthouse, 111 S. Highland Avenue, Jaekson,
Tennessee. Plaintiff shall fax a copy of its response to the Motion to the Magistrate lodge at his

chambers in Jackson, Terinessee (731-421-9272) at least 24 hours prior to the hearing

<<%M @)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: YMQ¢.] /}: ZOU.(/

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 116 in
case 1:04-CV-01154 Was distributed by faX, mail, or direct printing on
.luly 20, 2005 to the parties listed.

 

Henry R. Daar

DAAR & VENEK, P.C.

225 West Washington St., 18th Floor
Chicago, IL 60606

Thomas A. Vicl<ers
225 W. Washington
18th Floor

Chicago, IL 60606

Robert W. Fisher

ROBINS KAPLAN MILLER & CIRESI-Atlanta
2600 One Atlanta Plaza

950 East Paces Ferry Rd., NE

Atlanta, GA 30326--138

Russell E. Reviere

RAINEY KIZER REVIERE & BELL
209 E. Main Street

Jacl<son7 TN 38302--114

Clayton H. Farnham

DREW ECKL & FARNHAM
P.O. Box 7600

Atlanta, GA 303 57

Robert L. Green

NEELY GREEN FARGARSON BROOKE & SU1\/1MERS
65 Union Ave.

Ste. 900

l\/lemphis7 TN 38103--054

Heidi H. Raschke

ROBINS KAPLAN MILLER & CIRESI-Atlanta
2600 One Atlanta Plaza

950 East Paces Rerry Rd., NE

Atlanta, GA 30326--138

Case 1:04-cv-01154-.]DT-STA Document 116 Filed 07/18/05 Page 4 of 4 Page|D 93

Brian T. Moore

DREW ECKL & FARNHAM
880 W. Peachtree St.

P.O. Box 7600

Atlanta, GA 303 57

Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

l\/lemphis7 TN 38103

Albert B. Merkel
l\/[ERKEL & TABOR
203 S. Shannon
Jacl<son7 TN 38302--287

Gilbert l\/lichael Malm
Budd Larner

127 Peachtree Street, NE
Ste 636

Atlanta, GA 30303

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

l\/lemphis7 TN 38103

Honorable .l ames Todd
US DISTRICT COURT

